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 6                        IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
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 9   Pierce Peak LLC,                                NO. CV-24-00001-PHX-MTL
10                  Plaintiff,
                                                    JUDGMENT IN A CIVIL CASE
11   v.
12   Crystale J Reason, et al.,
13                  Defendants.
14
15            Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.

17            IT IS ORDERED AND ADJUDGED that pursuant to the Court’s Order filed
18   January 10, 2024, judgment of attorneys’ fees is entered in favor of plaintiff and against

19   defendants in the amount of $1,000.

20                                            Debra D. Lucas
                                              District Court Executive/Clerk of Court
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22   January 10, 2024
                                              s/ Wendy Poth
23                                       By   Deputy Clerk
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